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                                        November 9, 2020

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                                                           November 9, 2020
                                                           The Court grants the DST
                                                           Defendants' motion to keep their
                                                           letter response kept under seal.




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